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                                  No. 22-3170


 IN THE UNITED STATES COURT OF APPEALS
                       FOR THE SEVENTH CIRCUIT

                                  MADELINE KRASNO,
                                  Plaintiff-Appellant,
                                             v.
                            JENNIFER MNOOKIN, et al.,
                                 Defendants-Appellees.


                    Appeal from the United States District Court
                       for the Western District of Wisconsin
                             Case No. 3:21-cv-00099-slc
                 The Honorable Stephen L. Crocker, Judge Presiding


            SUPPLEMENTAL APPENDIX OF PLAINTIFF-APPELLANT
                         MADELINE KRASNO

     Caitlin M. Foley                         Joseph S. Goode
     Animal Legal Defense Fund                Mark M. Leitner
     150 South Wacker Drive                   Laffey, Leitner & Goode LLC
     Suite 2400                               325 E. Chicago Street
     Chicago, IL 60606                        Suite 200
                                              Milwaukee, WI 53202
     Christopher Berry Animal                 (414) 312-7003 Phone
     Legal Defense Fund                       (414) 755-7089 Facsimile
     525 E. Cotati Ave.
     Cotati, CA 94931
     (707)795-2533
                                       Counsel for Appellant




March 10, 2023
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